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                    Exhibit 1---
          Evidence Packet in Support of Defendant’s Motions for Summary Judgment


           U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                      Exhibit 1JJ
                                                       White Decl. ISO Disney's SJ Motion P.0684
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REDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                          #:33093
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REDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
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REDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                          #:33100
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                          #:33101
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REDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                          #:33102
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REDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                          #:33103
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                                               White Decl. ISO Disney's SJ Motion P.0697
